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.2
tems Inc.
                                             UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF MASSACHUSETTS
                                                     BOSTON DIVISION


        In re:                                            §
                                                          §
        PAUL G KAURANEN                                   §     Case No. 1:12-10131-JNF
                                                          §
                            Debtor(s)                     §

                        CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                        REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                        ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                WARREN AGIN, TRUSTEE, chapter 7 trustee, submits this Final Account, Certification
        that the Estate has been Fully Administered and Application to be Discharged.

                1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
        and, if applicable, any order of the Court modifying the Final Report. The case is fully
        administered and all assets and funds which have come under the trustee’s control in this case
        have been properly accounted for as provided by law. The trustee hereby requests to be
        discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
        discharged without payment, and expenses of administration is provided below:


        Assets Abandoned: 0.00                                   Assets Exempt: 194,997.17
        (Without deducting any secured claims)

        Total Distributions to Claimants: 489,999.48             Claims Discharged
                                                                 Without Payment: 1,593,805.01

        Total Expenses of Administration: 21,012.43




                3) Total gross receipts of $ 621,000.00 (see Exhibit 1), minus funds paid to the debtor
        and third parties of $ 109,988.09 (see Exhibit 2), yielded net receipts of $ 511,011.91 from the
        liquidation of the property of the estate, which was distributed as follows:




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                                                 CLAIMS            CLAIMS                 CLAIMS                 CLAIMS
                                               SCHEDULED          ASSERTED               ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                 $ 565,734.77        $ 864,926.71           $ 454,685.73          $ 454,685.73

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                         NA           43,190.03              21,089.43                21,012.43

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                 NA                 NA                     NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                            93,184.51          33,157.00              29,941.18                29,941.18

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                            467,423.68          472,834.62             472,834.62                 5,372.57

TOTAL DISBURSEMENTS                             $ 1,126,342.96     $ 1,414,108.36           $ 978,550.96          $ 511,011.91


                  4) This case was originally filed under chapter 7 on 01/06/2012 . The case was pending
          for 29 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 05/13/2014                       By:/s/WARREN AGIN, TRUSTEE
                                                                        Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                             EXHIBITS TO
                                                           FINAL ACCOUNT


             EXHIBIT 1 – GROSS RECEIPTS

                            DESCRIPTION                                    UNIFORM                                       $ AMOUNT
                                                                          TRAN. CODE1                                    RECEIVED

         76 Beethoven Ave, Walpole, MA                                       1110-000                                         621,000.00

TOTAL GROSS RECEIPTS                                                                                                       $ 621,000.00
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                          UNIFORM             $ AMOUNT
                                                                                                    TRAN. CODE              PAID

John A. Guglielmi, Esq.                           Exemptions                                         8100-002                  35,000.00

                                                  Non-Estate Funds Paid to Third
Law Office Joanne Karamas IOLTA                   Parties                                            8500-002                  74,988.09

TOTAL FUNDS PAID TO DEBTOR &                                                                                               $ 109,988.09
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS

                                                 UNIFORM        CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.               CLAIMANT                  TRAN.      SCHEDULED                                                   CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                  CODE      (from Form 6D)

              Blake Street Realty Trust c/o
              Michael Magerer, Esq.
              Michael Magerer and
              Associates
              109 Highland Ave.
              Needham, MA 02494                                     79,557.31                  NA                   NA              0.00




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                                               UNIFORM       CLAIMS
                                                                             CLAIMS          CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.     SCHEDULED                                        CLAIMS PAID
                                                                            ASSERTED        ALLOWED
                                                CODE     (from Form 6D)

            Linda Hughes c/o David C.
            Nunheimer Esq.


            ,                                                        0.00              NA             NA            0.00


            Rockland Federal Credit
            Union
            241 Union Street
            Rockland, MA 02370                                       0.00              NA             NA            0.00


            Sarah Khan c/o Shaun B.
            Spencer
            Attorney at Law
            56 Glendale Rd.
            Sharon, MA 02067                                    73,022.00              NA             NA            0.00


            U.S. Alliance c/o Barsh and
            Cohen
            70 Wells Ave.
            Newton, MA 02459                                         0.00              NA             NA            0.00


            U.S. Alliance Federal Credit
            Union Mortgage Service Dept.
            18 Commerce Way, Suite
            7100
            Woburn, MA 01801                                   413,155.46              NA             NA            0.00




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                                                 UNIFORM         CLAIMS
                                                                                  CLAIMS           CLAIMS
CLAIM NO.               CLAIMANT                  TRAN.       SCHEDULED                                            CLAIMS PAID
                                                                                 ASSERTED         ALLOWED
                                                  CODE       (from Form 6D)

              U.S. Alliance Federal Credit
              Union
              159 Overland Rd.
              P.O. Box 549204
              Waltham, MA 02454                                          0.00               NA               NA               0.00


              U.S. Alliance
              600 Midland Ave.
              Rye, NY 10580                                              0.00               NA               NA               0.00


              Rockland Federal Credit
              Union                              4110-000                 NA          32,597.50        32,597.50        32,597.50


              USAlliance Federal Credit
13            Union                              4110-000                 NA        417,933.59              0.00              0.00


              USAlliance Federal Credit
3             Union                              4110-000                 NA        414,395.62       422,088.23        422,088.23

TOTAL SECURED CLAIMS                                             $ 565,734.77      $ 864,926.71     $ 454,685.73      $ 454,685.73


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                            UNIFORM
                                                              CLAIMS             CLAIMS            CLAIMS
                PAYEE                        TRAN.                                                                 CLAIMS PAID
                                                            SCHEDULED           ASSERTED          ALLOWED
                                             CODE

WARREN AGIN                                 2100-000                    NA          28,800.60          6,700.00           6,700.00


AGIN, WARREN                                2200-000                    NA              77.00             77.00              77.00


WARREN AGIN                                 2200-000                    NA              77.00             77.00               0.00


Sureties, Ltd International                 2300-000                    NA              38.64             38.64              38.64




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                                           UNIFORM
                                                           CLAIMS          CLAIMS            CLAIMS
               PAYEE                        TRAN.                                                            CLAIMS PAID
                                                         SCHEDULED        ASSERTED          ALLOWED
                                            CODE

Law Office Joanne Karamas IOLTA            2500-000                  NA         3,361.76         3,361.76          3,361.76


Rabobank, N.A.                             2600-000                  NA          339.68           339.68            339.68


The Bank of New York Mellon                2600-000                  NA              0.00             0.00             0.00


Swiggart & Agin, LLC                       3110-000                  NA         8,000.00         8,000.00          8,000.00


Swiggart & Agin, LLC                       3120-000                  NA          790.21           790.21            790.21


Verdolino & Lowey, P. C.                   3410-000                  NA         1,638.50         1,638.50          1,638.50


Verdolino & Lowey, P. C.                   3420-000                  NA            66.64            66.64            66.64

TOTAL CHAPTER 7 ADMIN. FEES                                       $ NA       $ 43,190.03      $ 21,089.43       $ 21,012.43
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                           UNIFORM
                                                           CLAIMS          CLAIMS            CLAIMS
               PAYEE                        TRAN.                                                            CLAIMS PAID
                                                         SCHEDULED        ASSERTED          ALLOWED
                                            CODE

NA                                              NA                   NA              NA               NA               NA

TOTAL PRIOR CHAPTER ADMIN.                                        $ NA             $ NA             $ NA              $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS




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                                                           CLAIMS            CLAIMS
                                               UNIFORM
                                                         SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                       CLAIMS PAID
                                                          (from Form      (from Proofs of    ALLOWED
                                                CODE
                                                              6E)             Claim)

            Commonwealth of
            Massachusetts Department of
            Revenue
            P.O. Box 7010
            Boston, MA 02204                                   1,292.80                 NA             NA            0.00


            Internal Revenue Service ACS
            Support
            P.O. Box 8208
            Philadelphia, PA 19101                                 0.00                 NA             NA            0.00


            Mass Department of Revenue
            c/o EOS CCA
            P.O. Box 800
            Norwell, MA 020610800                                  0.00                 NA             NA            0.00


            Mass Department of
            Workforce Division of
            Unemployment Assist
            19 Staniford Street
            Boston, MA 021142502                              45,023.00                 NA             NA            0.00


            Mass Dept of Revenue
            P.O. Box 7065
            Boston, MA 02204                                   1,292.80                 NA             NA            0.00


            Town of Walpole Office of
            Collector of Taxes
            135 School St.
            Walpole, MA 02081                                  4,629.93                 NA             NA            0.00




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                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                  TRAN.                                                            CLAIMS PAID
                                                            (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                                6E)              Claim)

             Town of Walpole
             135 School Street
             Walpole, MA 02081                                    6,274.76                 NA              NA               0.00


             Town of Walpole
             135 School Street
             Walpole, MA 02081                                     903.75                  NA              NA               0.00


             U.S. Department of Labor
             Wage and Hour Divison
             JFK Federal Building, Room
             525
             Government Center
             Boston, MA 02203                                   33,767.47                  NA              NA               0.00


36P          Jannelle Kauranen                  5100-000               NA             6,510.00        6,510.00         6,510.00


9            Karen Krider                       5300-000               NA             2,555.00        2,555.00         2,555.00


             Deborah Norris                     5600-000               NA             2,600.00        2,600.00         2,600.00


37           Donna Murphy                       5600-000               NA             2,775.00             0.00             0.00


38           Neil Murphy                        5600-000               NA             2,225.00             0.00             0.00


1            Town of Walpole                    5800-000               NA           16,492.00       18,276.18         18,276.18

TOTAL PRIORITY UNSECURED                                       $ 93,184.51        $ 33,157.00      $ 29,941.18       $ 29,941.18
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS




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                                                           CLAIMS            CLAIMS
                                               UNIFORM
                                                         SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                       CLAIMS PAID
                                                          (from Form      (from Proofs of    ALLOWED
                                                CODE
                                                              6F)             Claim)

            A.M. Leonard
            241 Fox Drive
            Piqua, OH 45356                                      242.97                 NA             NA            0.00


            Adam Epstein
            84 Royalston Rd.
            Wellesley, MA 02481                               50,000.00                 NA             NA            0.00


            Airton Dos Santos
            32 Congress St. Apt #. 2
            Milford, MA 01757                                  1,275.75                 NA             NA            0.00


            American Express c/o MRS
            Associates
            1930 Olney Ave.
            Cherry Hill, NJ 08003                                  0.00                 NA             NA            0.00


            American Express
            P.O. Box 981540
            El Paso, TX 79998                                  6,251.91                 NA             NA            0.00


            American Express
            PO Box 2855
            New York, NY 101162855                             5,401.00                 NA             NA            0.00


            Applied Bank
            P.O. Box 10210
            Wilmington, DE 19850                               1,250.00                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Applied Bank
            P.O. Box 17120
            Wilmington, DE 19886                                  909.88                 NA             NA            0.00


            AT&T Mobility c/o I.C.
            system
            444 Highway 96 East
            P.O. Box 64378
            St. Paul, MN 551640378                                  0.00                 NA             NA            0.00


            AT&T Mobility c/o I.C.
            System, Inc.
            P.O. Box 64378
            Saint Paul, MN 551640378                              373.25                 NA             NA            0.00


            AT&T Mobility c/o Southwest
            Credit
            4120 International Pkwy. Ste.
            1100
            Carrollton, TX 750071958                                0.00                 NA             NA            0.00


            AT&T Mobility
            P.O. Box 6463
            Carol Stream, IL 601976463                          5,000.02                 NA             NA            0.00


            Axel Gudiel
            73 Hampton Dry Apt.#c
            Norwood, MA 02062                                   7,268.92                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            B. Saba Dmd, P.C. c/o
            American Profit Recovery
            34405 W. 12 Mile rd. Ste.379
            Farmington Hills, MI
            483315608                                             507.00                 NA             NA            0.00


            B. Saba, DMD, P.C. c/o
            American Profit Recovery
            3405 W. 12 Mile Road, Ste
            379
            Farmington Hills, MI
            483315608                                               0.00                 NA             NA            0.00


            Batco of Norwood
            915 Pleasent St.
            Norwood, MA 02062                                   2,782.11                 NA             NA            0.00


            Baystate Gas
            P.O. Box 742514
            Cincinnati, OH 45274                                  214.19                 NA             NA            0.00


            Blake Street Realty c/o
            Michael Magerer & Assoc.
            109 Highland Ave.
            Needham, MA 02194                                       0.00                 NA             NA            0.00


            Bobcat of Boston, Inc.
            20 Concord Street
            N. Reading, MA 01864                               12,792.50                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Boston Herald Circulation
            Dept.
            P.O. Box 981068
            Boston, MA 02298                                       40.60                 NA             NA            0.00


            Brian Preti
            46 Mayfair Dr.
            Westwood, MA 02090                                      0.00                 NA             NA            0.00


            Bridgewater Farm Supply c/o
            Gerald S. Shulman
            15 Court Square
            Suite 1000
            Boston, MA 02108                                        0.00                 NA             NA            0.00


            Bruno Hirsh
            19 Cynthia Road
            Canton, A0 2021                                         0.00                 NA             NA            0.00


            Capital One Bank (USA),
            N.A.
            P.O. Box 71083
            Charlotte, NC 282721083                             2,566.95                 NA             NA            0.00


            Capital One Bank c/o
            Solomon and Solomon P.C.
            Columbia Circle
            P.O. Box 15019
            Albany, NY 122125019                                    0.00                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Capital One Bank
            PO Box 70884
            Charlotte, NC 282720884                             2,852.27                 NA             NA            0.00


            Capital One bk USA
            PO Box 71083
            Charlotte, NC 282721083                               158.23                 NA             NA            0.00


            Capital One c/o Solomon &
            Solomon
            5 Columbia Circle
            Albany, NY 12203                                        0.00                 NA             NA            0.00


            Carol Advertising Co., Inc.
            1022 Morrissey Blvd.
            Boston, MA 02122                                        0.00                 NA             NA            0.00


            Case Materials
            1320 S. Washington Street
            N. Attleboro, MA 02768                              7,788.75                 NA             NA            0.00


            Central Insurance Co.
            P.O. Box 828
            Van Wert, OH 45891                                    949.88                 NA             NA            0.00


            Children's Hospital Pediatric
            Assoc
            P.O. Box 4161
            Woburn, MA 018884161                                  687.00                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Christopher Gallasso
            45 Merchants Drive
            Walpole, MA 02081                                  25,000.00                 NA             NA            0.00


            Clean Harbors Environmental
            Srvc
            P.O. Box 3442
            Boston, MA 02241                                      308.58                 NA             NA            0.00


            Columbia Gas of MA
            P.O. Box 742514
            Cincinnati, OH 452742514                              778.07                 NA             NA            0.00


            Comcast
            P.O. Box 196
            Newark, NJ 071010196                                  506.24                 NA             NA            0.00


            Commerce Insurance
            11 Gore Rd.
            Webster, MA 01570                                     196.32                 NA             NA            0.00


            Commerce
            11 Gore Rd.
            Webster, MA 01570                                     116.72                 NA             NA            0.00


            Consumer Assistance Office
            209 West Central St. suite 304
            Natick, MA 01760                                        0.00                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Cooks Towing & Transport
            24 East Belcher Rd.
            Foxboro, MA 02035                                   1,067.30                 NA             NA            0.00


            Daniel Sullivan
            220 East St.
            Wrentham, MA 02093                                    775.15                 NA             NA            0.00


            Dedham Med Associates
            P.O. Box 3678
            Boston, MA 02241                                    1,043.00                 NA             NA            0.00


            Dedham Medical Assoc. Inc.
            P.O. Box 510
            Dedham, MA 02027                                      311.00                 NA             NA            0.00


            Dedham Medical Assoc.Inc.
            Dental Departments
            P.O. Box 510
            Dedham, MA 020270510                                  311.00                 NA             NA            0.00


            Dedham Medical Associates,
            Inc.
            P.O. Box 417177
            Boston, MA 022417177                                  135.00                 NA             NA            0.00


            Division of Unemployment
            Assistance Benefit Integrity
            Dept.
            19 Stanford Street
            Boston, MA 021142502                               45,023.00                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Dowling Corporation
            711 Dedham St.
            Wrentham, MA 02093                                  1,627.50                 NA             NA            0.00


            Edic Cruz
            658 Moody Street
            Waltham, MA 02452                                   1,787.50                 NA             NA            0.00


            Enterprise Rent a Car Rodham
            Collision Repair Center
            75 Washington Street
            Foxboro, MA 02035                                       0.00                 NA             NA            0.00


            Enterprise Rent-A-Car
            P.O. Box 405738
            Atlanta, GA 303845738                               2,767.71                 NA             NA            0.00


            Ever Florian
            18 Norumbega Terrace
            Waltham, MA 02453                                   2,560.45                 NA             NA            0.00


            Fastsigns
            11 B Second Ave.
            Needham, MA 02494                                   1,569.94                 NA             NA            0.00


            Ford Credit
            P.O. Box 31111
            Tampa, FL 336313111                                     0.00                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Ford Motor Credit c/o
            Kenneth C. Wilson
            Lustig, Wilson & Glaser, P.C.
            P.O. Box 9127
            Needham, MA 02492                                       0.00                 NA             NA            0.00


            Ford Motor Credit Co.
            Dept. 194101
            P.O. Box 55000
            Detroit, MI 48255                                   2,945.51                 NA             NA            0.00


            Ford Motor Credit Co.
            Dept. 194501
            P.O. Box 55000
            Detroit, MI 48255                                  10,063.15                 NA             NA            0.00


            GE Capital
            P.O. Box 644479
            Pittsburgh, PA 15264                                6,437.80                 NA             NA            0.00


            GE/JCPenney
            P.O. Box 965007
            Orlando, FL 32896                                     456.00                 NA             NA            0.00


            Giant Glass Co., Inc.
            P.O. Box 808
            Lawrence, MA 01840                                    527.39                 NA             NA            0.00




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                                                 CODE
                                                               6F)             Claim)

            Giant Glass/CB c/o Carter
            Business Service, Inc.
            150A Andover Street
            Suite 12A
            Danvers, MA 01923                                       0.00                 NA             NA            0.00


            Good Samaritan Medical
            Center
            PO Box 417080
            Boston, MA 02241                                        0.00                 NA             NA            0.00


            Greg & Megan Levesque c/o
            Patricia A. McArdle, Esq.
            8 County Rd. Ste 2
            Mattapoisett, MA 02739                                  0.00                 NA             NA            0.00


            Greg & Megan Levesque c/o
            Patricia McArdle, Esq.
            8 County Rd, Suite 2
            Mattapoinsette, MA 02739                                0.00                 NA             NA            0.00


            Greg & Megan Levesque
            2674 Courtlyn Rd.
            Dighton, MA 02715                                       0.00                 NA             NA            0.00


            Greg Norris
            8 Fairbanks Rd.
            Wrentham, MA 02093                                  5,200.00                 NA             NA            0.00




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                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Hometown Weekly
            29 James Ave.
            Medfield, Ma                                            0.00                 NA             NA            0.00


            Igor Silva
            32 Congress St. Apt. 1
            Milford, MA 01757                                   4,960.70                 NA             NA            0.00


            Ingersol-Rand
            P.O. Box 6229
            Carol Stream, IL 60197                                100.00                 NA             NA            0.00


            Innovative Merchant
            Solutions c/o Consolidated
            Recovery Grou
            425 West Fifth Ave. Suite 103
            Escondido, CA 92025                                     0.00                 NA             NA            0.00


            Innovative Merchant
            Solutions
            21215 Burbank Blvd. Ste.100
            Woodland Hills, CA 91367                           25,732.54                 NA             NA            0.00


            Jemco Dispposal Service, Inc.
            79 School Street
            Plainville, MA 02762                                8,743.70                 NA             NA            0.00


            Jonas & Sandra Geiger
            127 North Main St.
            Sherborn, MA 01770                                  8,000.00                 NA             NA            0.00




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CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
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                                                 CODE
                                                               6F)             Claim)

            Karen Kryder
            155 Forst Grove Ave.
            Wrentham, MA 02093                                  2,555.00                 NA             NA            0.00


            Keith & Kristina Jacobsen
            4 Ginley Rd.
            Walpole, MA 02081                                  18,000.00                 NA             NA            0.00


            Kelley Services Kelsey Cahill
            33 Thomas Leighton Blvd.
            Cumberland, RI 02864                                5,004.40                 NA             NA            0.00


            Law Office of Atty Craig
            Singe
            40 Willard Street
            Quincy, MA 02169                                   10,750.00                 NA             NA            0.00


            Law Offices of Joel Cardis,
            LLC
            2006 Swede Rd., Suite 100
            E. Norriton, PA 19401                               3,065.83                 NA             NA            0.00


            Lowes Home Centers Inc. c/o
            Certegy Payment Recovery
            Servic
            Claims Accounting
            P.O. Box 30272
            Tampa, FL 336303272                                   913.63                 NA             NA            0.00




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                                                 CODE
                                                               6F)             Claim)

            Mace Conway Clint
            46 Mashie Rd.
            Cumberland, RI 02864                                  250.00                 NA             NA            0.00


            Malibu Pool Service
            692 Dedham St.
            Wrentham, MA 02093                                      0.00                 NA             NA            0.00


            Marc D. Schulze, Esq.
            1401 Providence Highway
            Norwood, MA 02062                                       0.00                 NA             NA            0.00


            Matz Landscaping &
            Irrigation Co.
            1454 Main St.
            Walpole, MA 02081                                   1,650.00                 NA             NA            0.00


            Matz Landscaping c/o David
            J. Fonte, Osbourne & Font
            20 Eastbrook Rd, Suite 304
            Dedham, MA 02026                                        0.00                 NA             NA            0.00


            Michael White
            43 Rambien Brook Rd.
            Seekonk, MA 02771                                   1,200.00                 NA             NA            0.00


            Milton CAT c/o Michael R.
            Makyen, Esq.
            P.O. Box 202
            Hopkinton, MA 01748                                     0.00                 NA             NA            0.00




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                                                 CODE
                                                               6F)             Claim)

            Milton Cat Southworth-Milton
            P.O. Box 3581
            Boston, MA 02241                                   11,039.99                 NA             NA            0.00


            Mini Warehousing, Inc.
            241 Francis Ave.
            Mansfield, MA 02048                                   891.00                 NA             NA            0.00


            Minuteman Ford
            2181 Providence Hwy.
            Walpole, MA 02081                                   1,006.76                 NA             NA            0.00


            Minuteman Press
            123 Washington St. Unit #8
            Foxboro, MA 02035                                     845.55                 NA             NA            0.00


            Mr. & Mrs. Smith c/o
            Masspirg Consumer Action
            Center
            Whipple Center
            182 Green Street
            North Weymouth, MA 02192                                0.00                 NA             NA            0.00


            Mr. & Mrs.Smith
            1 Twilight Drive
            Foxboro, MA 02035                                   1,200.00                 NA             NA            0.00


            Nelson Ortega
            86 Hampton Dry Apt. #b
            Norwood, MA 02062                                   3,064.12                 NA             NA            0.00




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                                                 CODE
                                                               6F)             Claim)

            Neopost USA
            P.O. Box 45800
            San Francisco, CA 941450800                           668.19                 NA             NA            0.00


            Newton-Wellesley Hospital
            P.O. Box 415669
            Boston, MA 02241                                      150.00                 NA             NA            0.00


            Norwood Hospital c/o AMR
            of Mass Inc.
            P.O. Box 100330
            Atlanta, GA 303840330                               1,317.76                 NA             NA            0.00


            NStar
            P.O. Box 4508
            Woburn, MA 01888                                      323.59                 NA             NA            0.00


            NStar
            P.O. Box 660369
            Dallas, TX 752660369                                  268.59                 NA             NA            0.00


            NStar
            P.O. Box 660369
            Dallas, TX 752660369                                3,794.61                 NA             NA            0.00


            Nurseries Inc. d/b/a Walpole
            & Floral
            Rt. 1A
            Walpole, MA 02081                                     188.89                 NA             NA            0.00




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            Ocean State Oil, Inc.
            123 Ocean State Dr.
            North Kingstown, RI 02852                           1,019.71                 NA             NA            0.00


            Open Vine Solutions c/o Law
            Office of David Grossack
            1320 Centre Street, Suite 103
            Newton, MA 02459                                        0.00                 NA             NA            0.00


            Paul Sherman, Litigation Mgr.
            Innovative Merchant
            Solutions
            21215 Burbank Blvd. Suite
            100
            Woodland Hills, CA 91367                                0.00                 NA             NA            0.00


            Paulina Ordonez
            28 West School St.
            Woonsocket, RI 02895                                2,787.55                 NA             NA            0.00


            R&D Truck Repair
            100 Wales ave.
            Avon, MA 02322                                      2,000.00                 NA             NA            0.00


            Read Landscape c/o William
            P. Lenahan. Esq
            189 Nehoiden Street
            Needham, MA 02492                                       0.00                 NA             NA            0.00




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                                                               6F)             Claim)

            Richmond North Assoc. Inc.
            P.O. Box 963
            4232 Ridge Lea Rd.
            Amherst, NY 14226                                     940.26                 NA             NA            0.00


            Salah Reyad & Assoc.
            101 Access Rd.
            Norwood, MA 02062                                       0.00                 NA             NA            0.00


            Salah Reyad and Associates
            101 Access Road
            Norwood, MA 02062                                     207.00                 NA             NA            0.00


            Samantha Smith
            1 Twilight Dr.
            Foxboro, MA 02035                                       0.00                 NA             NA            0.00


            Santander Consumer USA
            P.O. Box 660633
            Dallas, TX 75266                                    2,579.21                 NA             NA            0.00


            Sara Kahn c/o Law Office of
            Shaun Spencer
            One Post Office Square
            Second Floor
            Sharon, MA 02067                                        0.00                 NA             NA            0.00


            Seven Hayes, Inc.
            435 West St.
            Walpole, MA 02081                                  14,894.20                 NA             NA            0.00




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                                                               6F)             Claim)

            Southworth-Milton, Inc.d/b/a
            Milton Cat c/o Law Offices of
            M
            85 Main Street
            P.O. Box 202
            Hopkinton, MA 01748                                 8,556.19                 NA             NA            0.00


            Sprint
            Allied Interstate LLC
            P.O. Box 361474
            Columbus, OH 432361474                                  0.00                 NA             NA            0.00


            Sprint
            P.O. Box 105243
            Atlanta, GA 30348                                     192.11                 NA             NA            0.00


            Sprint
            P.O. Box 105243
            Atlanta, GA 303485243                                 183.81                 NA             NA            0.00


            Standard Funding
            335 Crossways Park Dr.
            Woodbury, NY 11797                                    290.91                 NA             NA            0.00


            Staples
            360 Patriot Place
            Foxboro, MA 02035                                  26,338.34                 NA             NA            0.00


            Stephen Fossler
            439 Dartmoor Drive
            Crystal Lake, IL 60014                                242.96                 NA             NA            0.00




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            Sullivan Tire c/o David S.
            Goldberg, Esq.
            1671 Worcester Rd. #403
            Framingham, MA 01701                                    0.00                 NA             NA            0.00


            Sullivan Tire Companies
            P.O. Box 370
            Rockland, MA 02370                                  2,729.87                 NA             NA            0.00


            TD Bank, N.A.
            P.O. Box 9547
            Portland, ME 04112                                    184.67                 NA             NA            0.00


            The Commonwealth of Mass.
            Office of the Attorney General
            Fair Labor Division
            One Ashburton Place, Rm.
            1813
            Boston, MA 02108                                   10,000.00                 NA             NA            0.00


            Transworld systems Inc.
            507 Prudential Rd.
            Horsham, PA 19044                                  18,718.35                 NA             NA            0.00


            TRS Recovery Services
            PO Box 60022
            City Of Industry, CA 91716                              0.00                 NA             NA            0.00




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                                                               6F)             Claim)

            United Site Services
            Northeast, Inc.
            P.O. Box 9131
            Foxboro, MA 02035                                     969.38                 NA             NA            0.00


            US Alliance c/o Barsh and
            Cohen, PC
            70 Wells Ave #103
            Newton, MA 02459                                        0.00                 NA             NA            0.00


            USAlliance Federal Credit
            Union
            600 Midland Ave.
            Rye, NY 105803902                                   4,380.00                 NA             NA            0.00


            USPS
            115 Main St.
            Medway, MA 02053                                        0.00                 NA             NA            0.00


            Verizon 6647
            P.O. Box 1
            Worcester, MA 01654                                   636.09                 NA             NA            0.00


            Verizon c/o NCO Financial
            Systems
            P.O. Box 15391
            Wilmington, DE 19850                                    0.00                 NA             NA            0.00




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            Verizon c/o RMS
            1000 Circle 75 Pkwy Suite
            400
            Atlanta, GA 30339                                       0.00                 NA             NA            0.00


            Verizon c/o Solomon and
            Solomon
            Columbia Circle
            P.O. Box 15019
            Albany, NY 122125019                                  212.93                 NA             NA            0.00


            Verizon Wireless c/o
            Receivables Performance
            Mgmt
            P.O. Box 1548
            Lynnwood, WA 98046                                  3,868.53                 NA             NA            0.00


            Verizon
            P.O. Box 1100
            Albany, NY 122500001                                  207.66                 NA             NA            0.00


            Verizon
            P.O. Box 1100
            Albany, NY 122500001                                  176.19                 NA             NA            0.00


            Verizon
            PO Box 1100
            Albany, NY 122560001                                2,624.22                 NA             NA            0.00




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                                                          SCHEDULED          ASSERTED          CLAIMS
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                                                 CODE
                                                               6F)             Claim)

            Vermont Mutual Insurance
            Co.
            P.O. Box 113
            Brattleboro, VT 05302                                 478.75                 NA             NA            0.00


            Walpole Nurseries, Inc. d/b/a
            Walpole Floral & Garden Ctr.
            1415 Main St. Rt. 1A
            Walpole, MA 02081                                     206.53                 NA             NA            0.00


            Walpole School Department
            Ext 226
            135 School Street
            Walpole, MA 02081                                     350.00                 NA             NA            0.00


            Walpole School Dept. c/o
            Transworld Systems
            10 New England Bus. Ctr. Dr.
            Andover, MA 01810                                       0.00                 NA             NA            0.00


            Walpole School Dept.
            Ext. 226
            135 School St.
            Walpole, MA 02081                                     350.00                 NA             NA            0.00


            Wells Fargo Financial
            P.O. Box 68791
            Las Vegas, Vn 89193                                   644.00                 NA             NA            0.00




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                                                          SCHEDULED          ASSERTED          CLAIMS
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            Westwood Lodge Hospital
            45 Clapboardtree Street
            Westwood, MA 02090                                    150.00                 NA             NA            0.00


            Wilfredo Lopez
            812 Moody St.
            Waltham, MA 02452                                   5,979.76                 NA             NA            0.00


            William P. Lenahan, Esq.
            189 Nehoiden St.
            Needham, MA 02492                                       0.00                 NA             NA            0.00


            Work Out World c/o ABC
            Financial
            P.O. Box 6800
            Sherwood, AR 72124                                     20.99                 NA             NA            0.00


            Work Out World
            Rt. 1
            Norwood, MA 02062                                     147.99                 NA             NA            0.00


            Yerard Trailers
            11 West Mill St.
            Medfield, MA 02059                                    137.91                 NA             NA            0.00


            Zurich North America
            8712 Innovation Way
            Chicago, IL 606820087                               5,796.28                 NA             NA            0.00




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                                                                 6F)             Claim)

             Zurich
             8712 Innovation Way
             Chicago, IL 60682                                   11,708.97                 NA              NA            0.00


27           Axel Gudiel                         7100-000              NA             7,853.67       7,853.67           98.66


5            Batco of Norwood                    7100-000              NA             2,782.11       2,782.11           34.95


11           Blake Street Realty, LLC            7100-000              NA           86,142.96       86,142.96        1,082.11


23           Bruno Hirsh                         7100-000              NA           16,306.36       16,306.36          204.84


             Capital One Bank (USA), N.
14           A.                                  7100-000              NA             3,268.86       3,268.86           41.06


8            Columbia Gas of MA                  7100-000              NA                98.88          98.88            1.24


21           Deborah Norris                      7100-000              NA             2,600.00       2,600.00           32.66


4-2          Dowling Corporation                 7100-000              NA             1,627.50       1,627.50           20.44


24           FSB American Express Bank           7100-000              NA             6,087.29       6,087.29           76.47


12           G & T Equipment                     7100-000              NA           30,000.00       30,000.00          376.85


2            Gerald S. Shulman Esq.              7100-000              NA             2,831.20       2,831.20           35.57


             Greater Boston Legal Services 7100-000                    NA               200.63        200.63           200.63


16           Greg & Megan Levesque               7100-000              NA           25,915.62       25,915.62          325.55


             Innovative Merchant
15           Solutions                           7100-000              NA           56,531.08       56,531.08          710.13




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                                                           SCHEDULED        ASSERTED           CLAIMS
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                                                            (from Form    (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)           Claim)

25          Jemco Disposal Service, Inc.        7100-000             NA            8,782.60       8,782.60          110.33


10          Matz Landscaping, Inc.              7100-000             NA            1,650.00       1,650.00           20.73


19          Minuteman Press                     7100-000             NA          12,902.00       12,902.00          162.07


30          Nelson Ortega                       7100-000             NA            3,793.68       3,793.68           47.66


18          NStar                               7100-000             NA            3,794.61       3,794.61           47.67


33          Quantum3 Group LLC                  7100-000             NA            1,057.12       1,057.12           13.28


            Rockland Federal Credit
22          Union                               7100-000             NA          10,000.00       10,000.00          125.62


17          Sarah Khan                          7100-000             NA          70,600.00       70,600.00          886.86


26          Seven Hayes                         7100-000             NA          21,716.30       21,716.30          272.80


34          The Money Market, Inc.              7100-000             NA          34,130.00       34,130.00          428.74


            U.S. Bankruptcy Court               7100-000             NA               13.08          13.08           13.08


20          VERIZON                             7100-000             NA              204.68        204.68             2.57


32          Airton Dos Santos                   7100-003             NA            1,275.75       1,275.75            0.00


6           Dedham Medical Assoc. Inc.          7100-003             NA              311.00        311.00             0.00


7           Dedham Medical Assoc. Inc.          7100-003             NA              730.00        730.00             0.00


29          Igor Silva                          7100-003             NA            4,960.70       4,960.70            0.00




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31           Paulina Ordonez                     7100-003               NA             3,754.08        3,754.08              0.00


28           Wilfredo Lopez                      7100-003               NA             5,979.76        5,979.76              0.00


36U          Jannelle Kauranen                   7200-000               NA                 0.10             0.10             0.00


             MA Department of
35           Employment                          7200-000               NA           44,933.00        44,933.00              0.00

TOTAL GENERAL UNSECURED                                        $ 467,423.68       $ 472,834.62     $ 472,834.62        $ 5,372.57
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                                                                                                          AND REPORT
                                                                                                  ASSET CASES
                                                                                                                                                                                                           Exhibit 8
Case No:              12-10131                         JNF            Judge:        Honorable Joan N. Feeney                     Trustee Name:                      WARREN AGIN, TRUSTEE
Case Name:            PAUL G KAURANEN                                                                                            Date Filed (f) or Converted (c):   01/06/2012 (f)
                                                                                                                                 341(a) Meeting Date:               02/07/2012
For Period Ending:    06/16/2014                                                                                                 Claims Bar Date:                   07/11/2012


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. 76 Beethoven Ave, Walpole, MA                                                       630,000.00                       0.00                                                621,000.00                         FA
  2. Cash                                                                                  2,000.00                       0.00                                                       0.00                        FA
  3. VOID                                                                                      0.00                       0.00                                                       0.00                        FA
  4. Household Goods                                                                       5,000.00                       0.00                                                       0.00                        FA
  5. Clothing                                                                                500.00                       0.00                                                       0.00                        FA
  6. d/b/a Stonegate Landscape                                                                 0.00                       0.00                                                       0.00                        FA
  7. Gerard Associates, Inc.                                                                   0.00                       0.00                                                       0.00                        FA
  8. Saab 2001                                                                             2,025.00                       0.00                                                       0.00                        FA
INT. Post-Petition Interest Deposits (u)                                                  Unknown                         N/A                                                        0.00                    Unknown


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $639,525.00                     $0.00                                                $621,000.00                       $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




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RE PROP #             1   --                                                     Document
                               Sold at private sale allowed on 6/21/2012. Pursuant                      Page
                                                                                   to stipulation approved        36 of
                                                                                                                   44
                                                                                                             12/14/2012,
                               debtor's homestead exemption is allowed, but estate is entitled to retain all but $35,000
                               of exempted proceeds from the sale of the real estate.                                                               Exhibit 8
RE PROP #             2   --   Imported from original petition Doc# 1
RE PROP #             4   --   Imported from original petition Doc# 1
RE PROP #             5   --   Imported from original petition Doc# 1
RE PROP #             6   --   Now Defunct. Had been located in Wrentham, MA
RE PROP #             7   --   45 Industrial Road, Wrentham, MA. Landscaping business. Filed Bankruptcy in
                               September of 2011.
RE PROP #             8   --   Imported from original petition Doc# 1

Initial Projected Date of Final Report (TFR): 06/30/2015            Current Projected Date of Final Report (TFR): 08/27/2013




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                                                                                               DISBURSEMENTS
           Case No: 12-10131                                                                                                 Trustee Name: WARREN AGIN, TRUSTEE                                       Exhibit 9
      Case Name: PAUL G KAURANEN                                                                                               Bank Name: The Bank of New York Mellon-old
                                                                                                                     Account Number/CD#: XXXXXX1866
                                                                                                                                              Checking Account
  Taxpayer ID No: XX-XXX4854                                                                               Blanket Bond (per case limit): $36,700,000.00
For Period Ending: 06/16/2014                                                                              Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                   6                      7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                  Uniform Tran.     Deposits ($)      Disbursements ($)     Account/CD Balance
                    Reference                                                                                                             Code                                                          ($)
   07/12/12                       Law Office Joanne Karamas IOLTA           Net proceeds from sale of                                                       $69,688.24                                 $69,688.24
                                                                            estate's interest in real estate
                                                                            Gross Receipts                             $621,000.00

                                  USAlliance Federal Credit Union           Payoff of first mortgage                 ($422,088.23)     4110-000
                                  Attn: Rose L. Ruggiero
                                  18 Commerce Way
                                  Woburn, MA 01801
                                  Rockland Federal Credit Union             Payoff of second mortgage                  ($32,597.50)    4110-000

                                  ,
                                  Town of Walpole                           Payment of municipal liens                 ($18,276.18)    5800-000
                                  135 School Street
                                  Walpole, MA 02081
                                                                            Misc. closing and recording costs           ($3,361.76)    2500-000

                                  ,
                                                                            Payments to or for benefit of non          ($74,988.09)    8500-002
                                                                            -debtor co-owner, Jeanette
                                  ,                                         Kauranen
                        1                                                   76 Beethoven Ave, Walpole, MA              $621,000.00     1110-000

   07/31/12                       The Bank of New York Mellon               Bank and Technology Services                               2600-000                                       $85.68           $69,602.56
                                                                            Fee
   08/07/12                       The Bank of New York Mellon               Bank and Technology Services                               2600-000                                      ($85.68)          $69,688.24
                                                                            Fee Adjustment
   12/27/12             0         RABOBANK MIGRATION TRANSFER               TRANSFER TO                                                9999-000                                  $69,688.24                  $0.00
                                  OUT                                       XXXXXXXXX3088
                                                                            20121227


                                                                                                               COLUMN TOTALS                                $69,688.24           $69,688.24
                                                                                                                     Less: Bank Transfers/CD's                    $0.00          $69,688.24
                                                                                                               Subtotal                                     $69,688.24                 $0.00
                                                                                                                     Less: Payments to Debtors                    $0.00                $0.00
                                                                                                               Net                                          $69,688.24                 $0.00

                                                                                    Page Subtotals:                                                         $69,688.24           $69,688.24
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                                                                                               DISBURSEMENTS
           Case No: 12-10131                                                                                             Trustee Name: WARREN AGIN, TRUSTEE                                         Exhibit 9
      Case Name: PAUL G KAURANEN                                                                                            Bank Name: Rabobank, N.A.
                                                                                                                  Account Number/CD#: XXXXXX66
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX4854                                                                               Blanket Bond (per case limit): $36,700,000.00
For Period Ending: 06/16/2014                                                                              Separate Bond (if applicable):


       1                2                              3                                             4                                                     5                  6                       7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)     Disbursements ($)      Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   12/28/12                       RABOBANK MIGRATION TRANSFER IN RABOBANK MIGRATION                                                9999-000               $69,688.24                                 $69,688.24

   12/31/12           10101       John A. Guglielmi, Esq.                   Payment to Paul G. Kauranen re                         8100-002                                   $35,000.00             $34,688.24
                                  PO Box 2312                               10/23/12 settlement agreement
                                  Plainville, MA 02762
   05/20/13                       Rabobank, N.A.                            Bank and Technology Services                           2600-000                                       ($187.54)          $34,875.78
                                                                            Fee Adjustment
   05/21/13                       Rabobank, N.A.                            Bank and Technology Services                           2600-000                                        $375.08           $34,500.70
                                                                            Fee Adjustment
   05/31/13                       Rabobank, N.A.                            Bank and Technology Services                           2600-000                                         $51.47           $34,449.23
                                                                            Fee
   06/28/13                       Rabobank, N.A.                            Bank and Technology Services                           2600-000                                         $46.24           $34,402.99
                                                                            Fee
   07/31/13                       Rabobank, N.A.                            Bank and Technology Services                           2600-000                                         $54.43           $34,348.56
                                                                            Fee
   08/14/13           10102       International Sureties, Ltd               BOND PREMIUM PAYMENT ON                                2300-000                                         $38.64           $34,309.92
                                  710 Poydras Street                        LEDGER BALANCE AS OF
                                  Suite 420                                 08/01/2013 FOR CASE #12-
                                  New Orleans, LA 70139                     10131, Bond # 016027600
   12/13/13           10113       Dedham Medical Assoc. Inc.                Dividend paid 1.25% on                                 7100-003                                         ($3.91)          $34,313.83
                                  Dental Departments                        $311.00; Claim# 6; Filed:
                                  P.O. Box 510                              $311.00; Reference:
                                  Dedham, MA 020270510
   12/13/13           10114       Dedham Medical Assoc. Inc.                Dividend paid 1.25% on                                 7100-003                                         ($9.17)          $34,323.00
                                  Dental Departments                        $730.00; Claim# 7; Filed:
                                  P.O. Box 510                              $730.00; Reference:
                                  Dedham, MA 020270510
   12/13/13           10133       Wilfredo Lopez                            Dividend paid 1.25% on                                 7100-003                                        ($75.12)          $34,398.12
                                  812 Moody St.                             $5,979.76; Claim# 28; Filed:
                                  Waltham, MA 02452                         $5,979.76; Reference:
   12/13/13           10134       Igor Silva                                Dividend paid 1.25% on                                 7100-003                                        ($62.32)          $34,460.44
                                  32 Congress St. Apt. 1                    $4,960.70; Claim# 29; Filed:
                                  Milford, MA 01757                         $4,960.70; Reference:
   12/13/13           10136       Paulina Ordonez                           Dividend paid 1.25% on                                 7100-003                                        ($47.16)          $34,507.60
                                  28 West School St.                        $3,754.08; Claim# 31; Filed:
                                  Woonsocket, RI 02895                      $3,754.08; Reference:



                                                                                   Page Subtotals:                                                        $69,688.24          $35,180.64
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                                                                                               DISBURSEMENTS
           Case No: 12-10131                                                                                               Trustee Name: WARREN AGIN, TRUSTEE                                       Exhibit 9
      Case Name: PAUL G KAURANEN                                                                                             Bank Name: Rabobank, N.A.
                                                                                                                  Account Number/CD#: XXXXXX66
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX4854                                                                               Blanket Bond (per case limit): $36,700,000.00
For Period Ending: 06/16/2014                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)      Disbursements ($)     Account/CD Balance
                    Reference                                                                                                           Code                                                          ($)
   12/13/13           10137       Airton Dos Santos                         Dividend paid 1.25% on                                   7100-003                                      ($16.03)          $34,523.63
                                  32 Congress St. Apt #. 2                  $1,275.75; Claim# 32; Filed:
                                  Milford, MA 01757                         $1,275.75; Reference:
   12/13/13           10140       AGIN, WARREN                              COMBINED CHECK FOR                                                                                  $6,777.00            $27,746.63
                                  197 Portland Street                       TRUSTEE COMPENSATION,
                                  Fourth Floor                              EXPENSES AND INTEREST
                                  BOSTON, MA 02114
                                  AGIN, WARREN                              Dividend paid 100.00% on                    ($77.00)     2200-000
                                                                            $77.00; Claim#; Filed; $77.00
                                  AGIN, WARREN                              Dividend paid 100.00% on                  ($6,700.00)    2100-000
                                                                            $6,700.00; Claim#; Filed;
                                                                            $6,700.00
   12/13/13           10103       Swiggart & Agin, LLC                      Dividend paid 100.00% on                                 3110-000                                   $8,000.00            $19,746.63
                                  197 Portland Street                       $8,000.00, Attorney for Trustee
                                  Boston, MA 02114                          Fees (Trustee Firm); Reference:
   12/13/13           10104       Verdolino & Lowey, P.C.                   Dividend paid 100.00% on                                 3410-000                                   $1,638.50            $18,108.13
                                  124 Washington Street                     $1,638.50, Accountant for
                                  Foxboro, MA 02035                         Trustee Fees (Other Firm);
                                                                            Reference:
   12/13/13           10105       Verdolino & Lowey, P.C.                   Dividend paid 100.00% on                                 3420-000                                       $66.64           $18,041.49
                                  124 Washington Street                     $66.64, Accountant for Trustee
                                  Foxboro, MA 02035                         Expenses (Other Firm);
                                                                            Reference:
   12/13/13           10106       Swiggart & Agin, LLC                      Dividend paid 100.00% on                                 3120-000                                      $790.21           $17,251.28
                                  197 Portland Street                       $790.21, Attorney for Trustee
                                  Boston, MA 02114                          Expenses (Trustee Firm);
                                                                            Reference:
   12/13/13           10107       Jannelle Kauranen                         Dividend paid 100.00% on                                 5100-000                                   $6,510.00            $10,741.28
                                  83 South Street                           $6,510.00; Claim# 36P; Filed:
                                  Walpole, MA 02081                         $6,510.00; Reference:
   12/13/13           10108       Karen Krider                              Dividend paid 100.00% on                                 5300-000                                   $2,555.00              $8,186.28
                                  155 Forst Grove Avenue                    $2,555.00; Claim# 9; Filed:
                                  Wrentham, MA 02093                        $2,555.00; Reference:
   12/13/13           10109       Deborah Norris                            Dividend paid 100.00% on                                 5600-000                                   $2,600.00              $5,586.28
                                  8 Fairbanks Drive                         $2,600.00; Claim# 21P; Filed:
                                  Wrentham, MA 02093                        $2,600.00; Reference:




                                                                                   Page Subtotals:                                                              $0.00          $28,921.32
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           Case No: 12-10131                                                                                             Trustee Name: WARREN AGIN, TRUSTEE                                        Exhibit 9
      Case Name: PAUL G KAURANEN                                                                                            Bank Name: Rabobank, N.A.
                                                                                                                  Account Number/CD#: XXXXXX66
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX4854                                                                               Blanket Bond (per case limit): $36,700,000.00
For Period Ending: 06/16/2014                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   12/13/13           10110       Gerald S. Shulman, Esq                    Dividend paid 1.25% on                                 7100-000                                         $35.57            $5,550.71
                                  591 North Avenue                          $2,831.20; Claim# 2; Filed:
                                  Door 2, First Floor                       $2,831.20; Reference:
                                  Wakefield, MA 01880
   12/13/13           10111       Dowling Corporation                       Dividend paid 1.25% on                                 7100-000                                         $20.44            $5,530.27
                                  713 Dedham St.                            $1,627.50; Claim# 4 -2; Filed:
                                  Wrentham, MA 02093                        $1,627.50; Reference:
   12/13/13           10112       Batco of Norwood                          Dividend paid 1.25% on                                 7100-000                                         $34.95            $5,495.32
                                  915 Pleasent St.                          $2,782.11; Claim# 5; Filed:
                                  Norwood, MA 02062                         $2,782.11; Reference:
   12/13/13           10113       Dedham Medical Assoc. Inc.                Dividend paid 1.25% on                                 7100-003                                          $3.91            $5,491.41
                                  Dental Departments                        $311.00; Claim# 6; Filed:
                                  P.O. Box 510                              $311.00; Reference:
                                  Dedham, MA 020270510
   12/13/13           10114       Dedham Medical Assoc. Inc.                Dividend paid 1.25% on                                 7100-003                                          $9.17            $5,482.24
                                  Dental Departments                        $730.00; Claim# 7; Filed:
                                  P.O. Box 510                              $730.00; Reference:
                                  Dedham, MA 020270510
   12/13/13           10115       Columbia Gas of MA                        Dividend paid 1.25% on $98.88;                         7100-000                                          $1.24            $5,481.00
                                  P.O. Box 2025                             Claim# 8; Filed: $98.88;
                                  Springfield, MA 01102                     Reference:
   12/13/13           10116       Matz Landscaping, Inc.                    Dividend paid 1.25% on                                 7100-000                                         $20.73            $5,460.27
                                  C/o OSBORNE & FONTE                       $1,650.00; Claim# 10; Filed:
                                  20 Eastbrook Road, Suite 304              $1,650.00; Reference:
                                  Dedham, MA 02026
   12/13/13           10117       Blake Street Realty, LLC                  Dividend paid 1.25% on                                 7100-000                                     $1,082.11             $4,378.16
                                  c/o Rosenberg & Weinberg                  $86,142.96; Claim# 11; Filed:
                                  805 Turnpike Street                       $86,142.96; Reference:
                                  North Andover, MA 01845
   12/13/13           10118       G & T Equipment                           Dividend paid 1.25% on                                 7100-000                                        $376.85            $4,001.31
                                  45 Merchants Drive                        $30,000.00; Claim# 12; Filed:
                                  Walpole, MA 02081                         $30,000.00; Reference:
   12/13/13           10119       Capital One Bank (USA), N.A.              Dividend paid 1.25% on                                 7100-000                                         $41.06            $3,960.25
                                  P.O. Box 71083                            $3,268.86; Claim# 14; Filed:
                                  Charlotte, NC 282721083                   $3,268.86; Reference:




                                                                                   Page Subtotals:                                                              $0.00           $1,626.03
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           Case No: 12-10131                                                                                             Trustee Name: WARREN AGIN, TRUSTEE                                        Exhibit 9
      Case Name: PAUL G KAURANEN                                                                                            Bank Name: Rabobank, N.A.
                                                                                                                  Account Number/CD#: XXXXXX66
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX4854                                                                               Blanket Bond (per case limit): $36,700,000.00
For Period Ending: 06/16/2014                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   12/13/13           10120       Innovative Merchant Solutions             Dividend paid 1.25% on                                 7100-000                                        $710.13            $3,250.12
                                  c/o Consolidated Recovery Group           $56,531.08; Claim# 15; Filed:
                                  425 West Fifth Ave. Suite 103             $56,531.08; Reference:
                                  Escondido, CA 92025
   12/13/13           10121       Greg & Megan Levesque                     Dividend paid 1.25% on                                 7100-000                                        $325.55            $2,924.57
                                  2674 Courtlyn Rd.                         $25,915.62; Claim# 16; Filed:
                                  Dighton, MA 02715                         $25,915.62; Reference:
   12/13/13           10122       Sarah Khan                                Dividend paid 1.25% on                                 7100-000                                        $886.86            $2,037.71
                                  127 Washington Street                     $70,600.00; Claim# 17; Filed:
                                  Wellesley, MA 02481                       $70,600.00; Reference:
   12/13/13           10123       NStar                                     Dividend paid 1.25% on                                 7100-000                                         $47.67            $1,990.04
                                  P.O. Box 660369                           $3,794.61; Claim# 18; Filed:
                                  Dallas, TX 752660369                      $3,794.61; Reference:
   12/13/13           10124       Minuteman Press                           Dividend paid 1.25% on                                 7100-000                                        $162.07            $1,827.97
                                  123 Washington St. Unit #8                $12,902.00; Claim# 19; Filed:
                                  Foxboro, MA 02035                         $12,902.00; Reference:
   12/13/13           10125       VERIZON                                   Dividend paid 1.25% on                                 7100-000                                          $2.57            $1,825.40
                                  PO BOX 3037                               $204.68; Claim# 20; Filed:
                                  BLOOMINGTON, IL 617023037                 $204.68; Reference:
   12/13/13           10126       Deborah Norris                            Dividend paid 1.25% on                                 7100-000                                         $32.66            $1,792.74
                                  8 Fairbanks Drive                         $2,600.00; Claim# 21; Filed:
                                  Wrentham, MA 02093                        $2,600.00; Reference:
   12/13/13           10127       Rockland Federal Credit Union             Dividend paid 1.25% on                                 7100-000                                        $125.62            $1,667.12
                                  241 Union Street                          $10,000.00; Claim# 22; Filed:
                                  Rockland, MA 02370                        $10,000.00; Reference:
   12/13/13           10128       Bruno Hirsh                               Dividend paid 1.25% on                                 7100-000                                        $204.84            $1,462.28
                                  19 Cynthia Road                           $16,306.36; Claim# 23; Filed:
                                  Canton, MA 02021                          $16,306.36; Reference:
   12/13/13           10129       American Express Bank, FSB                Dividend paid 1.25% on                                 7100-000                                         $76.47            $1,385.81
                                  c o Becket and Lee LLP                    $6,087.29; Claim# 24; Filed:
                                  POB 3001                                  $6,087.29; Reference:
                                  Malvern, PA 193550701
   12/13/13           10130       Jemco Disposal Service, Inc.              Dividend paid 1.25% on                                 7100-000                                        $110.33            $1,275.48
                                  79 School Street                          $8,782.60; Claim# 25; Filed:
                                  Plainville, MA 02762                      $8,782.60; Reference:




                                                                                   Page Subtotals:                                                              $0.00           $2,684.77
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                                                                                               DISBURSEMENTS
           Case No: 12-10131                                                                                             Trustee Name: WARREN AGIN, TRUSTEE                                        Exhibit 9
      Case Name: PAUL G KAURANEN                                                                                            Bank Name: Rabobank, N.A.
                                                                                                                  Account Number/CD#: XXXXXX66
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX4854                                                                               Blanket Bond (per case limit): $36,700,000.00
For Period Ending: 06/16/2014                                                                              Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   12/13/13           10131       Seven Hayes                               Dividend paid 1.25% on                                 7100-000                                        $272.80            $1,002.68
                                  Southridge Farm & Nursery                 $21,716.30; Claim# 26; Filed:
                                  Ed Miranda,400 South St.                  $21,716.30; Reference:
                                  Walpole, MA 02081
   12/13/13           10132       Axel Gudiel                               Dividend paid 1.25% on                                 7100-000                                         $98.66               $904.02
                                  73 Hampton Dry Apt.#c                     $7,853.67; Claim# 27; Filed:
                                  Norwood, MA 02062                         $7,853.67; Reference:
   12/13/13           10133       Wilfredo Lopez                            Dividend paid 1.25% on                                 7100-003                                         $75.12               $828.90
                                  812 Moody St.                             $5,979.76; Claim# 28; Filed:
                                  Waltham, MA 02452                         $5,979.76; Reference:
   12/13/13           10134       Igor Silva                                Dividend paid 1.25% on                                 7100-003                                         $62.32               $766.58
                                  32 Congress St. Apt. 1                    $4,960.70; Claim# 29; Filed:
                                  Milford, MA 01757                         $4,960.70; Reference:
   12/13/13           10135       Nelson Ortega                             Dividend paid 1.25% on                                 7100-000                                         $47.66               $718.92
                                  86 Hampton Dry Apt. #b                    $3,793.68; Claim# 30; Filed:
                                  Norwood, MA 02062                         $3,793.68; Reference:
   12/13/13           10136       Paulina Ordonez                           Dividend paid 1.25% on                                 7100-003                                         $47.16               $671.76
                                  28 West School St.                        $3,754.08; Claim# 31; Filed:
                                  Woonsocket, RI 02895                      $3,754.08; Reference:
   12/13/13           10137       Airton Dos Santos                         Dividend paid 1.25% on                                 7100-003                                         $16.03               $655.73
                                  32 Congress St. Apt #. 2                  $1,275.75; Claim# 32; Filed:
                                  Milford, MA 01757                         $1,275.75; Reference:
   12/13/13           10138       Quantum3 Group LLC                        Dividend paid 1.25% on                                 7100-000                                         $13.28               $642.45
                                  MOMA Funding LLC                          $1,057.12; Claim# 33; Filed:
                                  PO Box 788                                $1,057.12; Reference:
                                  Kirkland, WA 980830788
   12/13/13           10139       The Money Market, Inc.                    Dividend paid 1.25% on                                 7100-000                                        $428.74               $213.71
                                  245 Main Street                           $34,130.00; Claim# 34; Filed:
                                  Brockton, MA 02301                        $34,130.00; Reference:
   03/19/14           10141       Greater Boston Legal Services             Payment on client claims                               7100-000                                        $200.63                $13.08
                                                                            Posted manually based on
                                                                            review of bank account.
   03/19/14           10142       U.S. Bankruptcy Court                     Unclaimed funds; paid by ACH                           7100-000                                         $13.08                 $0.00
                                  5 Post Office Square                      ACH
                                  Suite 1150
                                  Boston, MA 02109




                                                                                   Page Subtotals:                                                              $0.00           $1,275.48
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                                                                                                                                         Page:    7
                                Case 12-10131   Doc 148   Filed 06/16/14 Entered  06/16/14 08:53:59
                                                                          COLUMN TOTALS                        Desc  Main
                                                                                                               $69,688.24   $69,688.24
                                                          Document      Page 43 of 44
                                                                                   Less: Bank Transfers/CD's   $69,688.24        $0.00
                                                                             Subtotal                               $0.00   $69,688.24    Exhibit 9
                                                                                   Less: Payments to Debtors        $0.00   $35,000.00
                                                                             Net                                    $0.00   $34,688.24




                                                           Page Subtotals:                                          $0.00       $0.00
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                                                                                                                                                            Page:     8
                                Case 12-10131   Doc 148            Filed 06/16/14 Entered 06/16/14 08:53:59          Desc Main
                                                                   Document      Page 44 of 44
                                                                                                                                                             Exhibit 9
                                                                                       TOTAL OF ALL ACCOUNTS
                                                                                                                                         NET            ACCOUNT
                                                                                                     NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                           XXXXXX1866 - Checking Account                                  $69,688.24                    $0.00                $0.00
                                           XXXXXX66 - Checking Account                                          $0.00              $34,688.24                $0.00
                                                                                                          $69,688.24               $34,688.24                $0.00

                                                                                                    (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                            transfers)            to debtors)
                                           Total Allocation Receipts:                 $551,311.76
                                           Total Net Deposits:                         $69,688.24
                                           Total Gross Receipts:                      $621,000.00




                                                                    Page Subtotals:                                        $0.00                $0.00
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